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                                                         REPRESENTATION OF PRINTED DOCUMENT                            Page   1 of 2
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                               Mortgage                                                                         Desc Main
                       P.O. Box 26648 Document      Page 3 of 8
                                Oklahoma City, OK 73126-0648
                                                                                        Loan number:
                                                                                              21 GOODROCK RD
                                                                                          LEVITTOWN PA 19057
                                                                                       Date Reviewed: 11/23/2021
                                                                           Next Escrow Cycle: Feb 2022 - Jan 2023


      SHERI ELLEN JOHNSON
      21 GOODROCK RD
      LEVITTOWN PA 19057




                                           Escrow Account Statement
Why am I           Midland Mortgage, a division of MidFirst Bank ("Midland") recently reviewed your escrow account.
receiving          Part of your monthly mortgage loan payment (“mortgage payment”) goes into your escrow account to
                   pay recurring expenses on your behalf such as property taxes, insurance, and other items required by
this
                   your loan documents. This statement shows how those expenses affect the amount of your monthly
statement?         mortgage payment.
Why did my         The most common reason escrow payments change is an increase or decrease in the amounts you
payment            pay in property taxes and homeowner's insurance. If you have questions about a change in your
change?            tax or insurance bills, please contact your local taxing authority or insurance agent.

What do I          Please review your escrow statement below, which explains how the shortage will impact your
need to do         monthly payment. The last page of this statement includes helpful answers to common escrow
                   questions.
next?
Important          If you have received a bankruptcy discharge of the debt secured by the Mortgage/Deed of Trust, or you are
                   currently in bankruptcy under the protection of the automatic stay, this letter is not an attempt to collect the debt
Notices
                   from you personally and is for informational purposes only. If your loan was in default at the time MidFirst Bank
                   obtained it, and you have not filed bankruptcy or received a discharge of the debt secured by the
                   Mortgage/Deed of Trust, we are required to advise you that this communication is from a debt collector, this is
                   an attempt to collect a debt, and any information obtained will be used for that purpose.

                   Notice to Connecticut and North Carolina Residents: The purpose of this communication is to collect a debt.

                   Notice to Vermont Residents: This is an attempt to collect a debt and any information obtained will be used for
                   that purpose.



New Monthly Mortgage Payment
The amount needed in your escrow account to pay your expenses, such as property taxes or homeowner's insurance,
has changed. Because of this, your mortgage payment has changed to $1,764.28 beginning with the 2/1/2022
mortgage payment.

Monthly Payment                                             Old Payment                  New Payment                  Change
Principal & Interest                                        $1,039.04                    $1,039.04                    None
Escrow Deposit plus Escrow Shortage or Surplus              $695.82                      $725.24                      Increase
Total Monthly Mortgage Payment                              $1,734.86                    $1,764.28                    Increase

Escrow Bills and Escrow Payment
The following chart shows the breakdown of the amounts we expect to pay from your escrow account between February
2022 and January 2023.

Escrow Bills                                                                     Amount
Homeowners Ins                                                                   $1,184.00
MI Premiums                                                                      $1,571.16
City/Town Tax                                                                    $1,397.61
School District                                                                  $4,396.87
Annual Total                                                                     $8,549.64
                                                                                                                                       Page    1 of 2
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Required Minimum Balance
The required minimum balance is between 0 and 2 new monthly escrow payments and is determined by the terms of your loan
documents, federal and/or state law. The new required minimum balance in your escrow account is $1,163.08

                               Your lowest expected escrow balance:                                                                    $1,009.74
                               Your required minimum balance                                                                           $1,163.08
                               The difference creates a shortage in your escrow account of:                                             -$153.34
Because the lowest expected escrow balance is less than the required minimum balance, there is a shortage of -$153.34 in your
escrow account. This shortage is illustrated in the table below, and can be found by calculating the difference in the
bolded numbers in the Anticipated Balance and Required Balance columns.


Expected Escrow Account Transactions
The following chart shows the amounts we expect to deposit into and pay out of your escrow account during the next escrow cycle,
as well as the required balance for each month. These projections are based on the most recent bills paid from your escrow
account. The actual amounts billed by your insurance company and by your taxing authority in the upcoming year may be
different and could result in changes to your monthly mortgage payment when your escrow account is reviewed in the
future. If you become aware of a change to your insurance or taxes, you may wish to contact Midland to have your escrow
account reviewed to avoid a large shortage or surplus in the future.

                         EXPECTED PAYMENTS             EXPECTED PAYMENTS                                              ANTICIPATED     REQUIRED
    MONTH-YEAR               TO ESCROW                    FROM ESCROW                 DESCRIPTION                        BALANCE       BALANCE
                                                                                      Starting Balance                    $2,754.36     $2,907.70
     Feb-22                    $712.47                        -$130.93                MI PREMIUMS                         $3,335.90     $3,489.24
     Mar-22                    $712.47                        -$130.93                MI PREMIUMS                         $3,917.44     $4,070.78
     Apr-22                    $712.47                        -$130.93                MI PREMIUMS                         $4,498.98     $4,652.32
     Apr-22                    $0.00                          -$1,397.61              CITY/TOWN TAX                       $3,101.37     $3,254.71
     May-22                    $712.47                        -$130.93                MI PREMIUMS                         $3,682.91     $3,836.25
     Jun-22                    $712.47                        -$130.93                MI PREMIUMS                         $4,264.45     $4,417.79
     Jul-22                    $712.47                        -$130.93                MI PREMIUMS                         $4,845.99     $4,999.33
     Aug-22                    $712.47                        -$130.93                MI PREMIUMS                         $5,427.53     $5,580.87
     Aug-22                    $0.00                          -$4,396.87              SCHOOL DISTRICT                     $1,030.66     $1,184.00
     Sep-22                    $712.47                        -$130.93                MI PREMIUMS                         $1,612.20     $1,765.54
     Oct-22                    $712.47                        -$1,184.00              HAZARD                              $1,140.67     $1,294.01
     Oct-22                    $0.00                          -$130.93                MI PREMIUMS                         $1,009.74     $1,163.08
     Nov-22                    $712.47                        -$130.93                MI PREMIUMS                         $1,591.28     $1,744.62
     Dec-22                    $712.47                        -$130.93                MI PREMIUMS                         $2,172.82     $2,326.16
     Jan-23                    $712.47                        -$130.93                MI PREMIUMS                         $2,754.36     $2,907.70
     Total                     $8,549.64                      -$8,549.64


Escrow Account History
This chart shows the estimated and actual activity in your escrow account from 3/1/21 through 1/1/2022. If the servicing of your
loan recently transferred to Midland or your loan has analyzed within the last 12 months the table below may be blank or show a
history of less than 12 months. If the last escrow account statement provided by Midland was issued to you more than 12 months
ago, additional months of transaction history for transactions more than 12 months in the past is included on page 5 of this
statement. The previously required minimum balance and the actual minimum balance reached are indicated by bold font in the
chart below.

                    PAYMENTS TO                                        PAYMENTS FROM                                                  ESCROW
                      ESCROW                                              ESCROW                                                      BALANCE
 MONTH-
                                 Actual                                                  Actual             Description                        Actual
  YEAR
                                                                                                  Starting Balance                              $569.01
  Feb-21                            $0.00                                                   $0.00                                               $569.01
  Mar-21                            $0.00                                                   $0.00                                               $569.01
  Apr-21                        $2,051.61                                              -$1,397.61        CITY/TOWN TAX*                       $1,223.01
  Apr-21                            $0.00                                                -$134.12         MI PREMIUMS                         $1,088.89
  May-21                         $704.91                                                 -$134.12         MI PREMIUMS*                        $1,659.68
  Jun-21                         $704.91                                                 -$134.12         MI PREMIUMS*                        $2,230.47
  Jul-21                         $704.91                                                 -$134.12         MI PREMIUMS*                        $2,801.26
  Aug-21                        $1,409.82                                                -$134.12         MI PREMIUMS*                        $4,076.96
  Aug-21                            $0.00                                              -$4,396.87        SCHOOL DISTRICT                       -$319.91
  Sep-21                            $0.00                                                -$134.12         MI PREMIUMS*                         -$454.03
  Oct-21                            $0.00                                                -$134.12         MI PREMIUMS*                         -$588.15
  Nov-21                            $0.00                                                -$134.12         MI PREMIUMS*                         -$722.27
  Nov-21                            $0.00                                              -$1,184.00            HAZARD                           -$1,906.27
  Dec-21                            $0.00                                                   $0.00                                             -$1,906.27
  Jan-22                            $0.00                                                   $0.00                                             -$1,906.27
   Total                        $5,576.16                                              -$8,051.44

* The single asterisk indicates a difference in the amount or date of the estimated and actual payouts from escrow.
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Paying the Shortage
There is a shortage in your escrow account, which will be collected over the next 12 months with your monthly mortgage
payment. There are no additional fees or interest to pay the shortage amount over the next 12 months.




                Your escrow shortage of $153.34 will be repaid by adding $12.77 to your next 12 monthly payments.
                This amount is automatically included in your new monthly payment of $1,764.28 beginning 2/1/2022.

                                                No action is required by you.




                        What if I have enrolled in an Automatic Payment Plan?
      •    If you use Midland’s Automatic Payment Plan, we will automatically adjust your payment withdrawal amount.
      •    If you use an automatic payment program other than Midland’s, please contact your payment administrator
           and ask them to update your payment to the new amount.




                                            Worried About Payments?
     If you are struggling to pay your monthly payment, please call us at 1-800-552-3000 Monday through Friday from
     8 a.m. until 9 p.m. (Central Time) to discuss your account and the options that may be available to help you.

     You can also visit us online at www.MyMidlandMortgage.com/applynow to get an application for assistance.



                       Please review the reverse side of this statement for
                         helpful answers to common escrow questions.
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Frequently Asked Escrow Account Questions
Q1 What is an escrow account?
  Part of your monthly mortgage payment includes an amount for your loan’s principal and/or interest, but it also
  includes an amount for property-related expenses (such as property taxes, insurance, and other items required by
  your loan documents). These amounts are deposited into an escrow account associated with your mortgage loan.
  With an escrow account, you pay a portion of your property taxes, insurance, and other items required by your loan
  documents every month instead of once or twice a year.

Q2 Why did Midland change my monthly mortgage payment amount?
  Midland does not change your principal and interest monthly payments unless you have an adjustable interest rate
  mortgage loan or an interest-only period on your loan. Increases or decreases to the escrow portion of your monthly
  mortgage payment are usually because of changes in your taxes or insurance.
      Property Taxes: Your property taxes may change when your property is reassessed, when the applicable tax
      rate changes, or when a special tax or assessment is charged by your local taxing authority. Contact your local
      taxing authority if you have questions about changes to your property taxes.
      Homeowner’s and Flood Insurance: Your premium for insurance covering your property can change when
      your coverage changes or if the rate that your insurance company charges for your coverage changes. Contact
      your insurance carrier or agent with questions about your insurance coverage and the cost of your coverage.
      You may also contact our Insurance Service Center at 1-866-439-2712 to discuss any changes in your
      insurance bills and your options.

Q3 How often will my escrow payment change?
  Your monthly escrow payment, and thus your monthly mortgage payment, may change at least once a year when
  we review your escrow account as required by federal and state law. Your escrow payment might be recalculated
  more than once a year if there are substantial changes in your escrow bills (for example, you obtain homeowner’s
  insurance at a reduced rate or you receive an exemption from paying the full amount of your property taxes).

Q4 Will my automatic payments change to cover my new payment amount?
  If you use Midland’s Automatic Payment Plan, we’ll automatically adjust the withdrawal amount to the new payment
  amount upon its effective date. If you use an automatic payment program other than Midland’s, please contact your
  payment administrator and ask them to update your payment to the new amount.

Q5 What should I do if I think my escrow bills are wrong?
  You should verify billing amounts with your insurance carrier or taxing authority if you believe your escrow account
  has been charged incorrectly. If the amounts have changed, provide Midland with proof of the change from the
  taxing authority or insurance carrier so that we can adjust your escrow payment accordingly.

Q6 What are my options if my payment increased and I can’t afford a higher mortgage
   payment?
  If a payment increase causes a financial hardship and you cannot afford the larger monthly mortgage payment, call
  us at 1-800-552-3000 to discuss mortgage assistance options that may be available to you.




Visit www.MyMidlandMortgage.com/Escrow for additional
helpful answers to frequently asked escrow questions or
             contact us at 1-800-654-4566.
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      ALDRIDGE PITE, LLP
      4375 Jutland Drive, Suite 200
      P.O. Box 17933
      San Diego, CA 92177-0933
      Telephone: (858) 750-7600
      Facsimile: (619) 590-1385




                                UNITED STATES BANKRUPTCY COURT

              EASTERN DISTRICT OF PENNSYLVANIA - PHILADELPHIA DIVISION
      In re                                           Case No. 21-12778-mdc

      SHERI JOHNSON,                                  Chapter 13

                       Debtor(s).                     PROOF OF SERVICE


              I, Amber Finch, declare that:

              I am employed by Aldridge Pite, LLP. My business address is: Fifteen Piedmont Center,

     3575 Piedmont Road, N.E., Suite 500, Atlanta, GA 30305. I am over the age of eighteen years

     and not a party to this case.

              On January 7, 2022, I caused the NOTICE OF MORTGAGE PAYMENT CHANGE to be

     served in said case by electronic means through the court’s CM/ECF system or through United

     States Mail, addressed as follows: SEE ATTACHED SERVICE LIST.
              I declare under penalty of perjury that the foregoing is true.



                                                     /s/Amber Finch
                                                     AMBER FINCH




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     PROOF OF SERVICE
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                                       SERVICE LIST

     DEBTOR(S)
     (VIA US MAIL)
     Sheri Johnson
     21 Goodrock Road
     Levittown, PA 19057


     DEBTOR(S) ATTORNEY
     (VIA ELECTRONIC NOTICE)
     BRAD J. SADEK



     CHAPTER 13 TRUSTEE
     (VIA ELECTRONIC NOTICE)
     KENNETH E. WEST



     U.S. TRUSTEE
     (VIA ELECTRONIC NOTICE)
     United States Trustee




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     PROOF OF SERVICE
